    475 Crosspoint Pkwy.
    Getzville NY 14068



    March 31 2023


    To whom it may concern:

    Please withdraw the Notice of Mortgage Payment Change filed on 3/15/2023 under
    case number 20-00841, claim number 21. The document was found to be
    inaccurately filed.

    Please contact me at the via the information below if you have any other questions or
    concerns. Thank you for your assistance.


    Sarah Sepulveda Rios
    M&T Bank
    Customer Asset Management | Business Banking & Consumer Support Specialist II
    475 Crosspoint Pkwy, Getzville, NY 14068
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